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                       UNITED STATES DISTRICT COURT
  9
                      CENTRAL DISTRICT OF CALIFORNIA
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 12   NICOIS M. SMITH,                          Case No. 2:23-cv-09429-FMO-SSC
 13                               Petitioner,
 14                     v.
                                                JUDGMENT
 15   WARDEN D. SILVA,
 16                            Respondent.
 17
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 19        Pursuant to the Order Accepting Findings, Conclusions, and
 20   Recommendations of United States Magistrate Judge, IT IS
 21   ADJUDGED that this action is dismissed without prejudice for
 22   Petitioner’s failure to prosecute and comply with court orders and the
 23   Local Civil Rules for the Central District of California.
 24
 25   DATED:     April 23, 2024
 26                                            /s/
 27                               HONORABLE FERNANDO M. OLGUIN
                                   UNITED STATES DISTRICT JUDGE
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